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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 07-cr-151-PB

Yajaira Rosario



                               O R D E R

     The defendant, through counsel, has moved to continue the

December 4, 2007 trial in the above case, citing the need for

additional time to allow newly appointed counsel to complete

discovery and prepare a defense.      The government does not object

to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from December 4, 2007 to February 5, 2008.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial
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      The November 26, 2007 final pretrial conference is continued

to January 30, 2008 at 3:45 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

November 26, 2007

cc:   Bjorn Lange, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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